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                                                   U.S. Department of Justice
                                                   United States Attorney
                                                   Eastern District of Louisiana
BRIAN M. KLEBBA                                   The Poydras Center               Telephone: 504-680-3079
Assistant United States Attorney                  650 Poydras Street, Suite 1600   Fax: 504-589-3602
                                                  New Orleans, Louisiana 70130




                                                  September 10, 2020

 Vanessa Motta
 Motta Law Firm, LLC
 3632 Canal Street
 New Orleans, LA 70119


 Dear Madam/Sir:

           Pursuant to an official criminal investigation, it is requested that your company furnish
 by 
     September 18, 2020 , all information listed in the attached subpoena.

         We request that you not disclose the existence of this request for an indefinite period
 of time. Any such disclosure could impede the investigation being conducted and thereby
 interfere with the enforcement of the law.

        If there are any problems with this non-disclosure, please contact the undersigned Assistant
 United States Attorney at 504-680-30.


                                                       Very truly yours,

                                                       PETER G. STRASSER
                                                       UNITED STATES ATTORNEY


                                                       BRIAN M. KLEBBA
                                                       Assistant United States Attorney
 BMK/kll
 Enclosure




                                                                                    GOVERNMENT
                                                                                      EXHIBIT

                                                                                            R
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7R Vanessa Motta
         Motta Law Firm, LLC
         3632 Canal Street
         New Orleans, LA 70119


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 3ODFH United States Federal Grand Jury
         Hale Boggs Federal Building                                             'DWHDQG7LPH
         500 Poydras Street, Second Floor                                                              September 18, 2020 09:00 AM
         New Orleans, LA 70130
<280867DOVREULQJZLWK\RXWKHIROORZLQJGRFXPHQWVHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQRUREMHFWV EODQNLIQRWDSSOLFDEOH 
Pursuant to this Grand Jury subpoena please provide all records requested in the ATTACHMENT.

NOTE: Please provide certified copies pursuant to Rules 803 and 902 of the Federal Rules of Evidence as
outlined in the attached certification.

Note: You may comply with this subpoena without appearing before the grand jury, if you so desire, by
providing the requested documents to Special Agent Robert Orvin, Federal Bureau of Investigation, 2901 Leon
C. Simon Blvd., New Orleans, LA 70126. Telephone No. 504-816-3000 or rgorvin@fbi.gov.




'DWH     September 10, 2020




                                                                                                    Carol L. Michel
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           Case 2:24-cr-00105-WBV-JVM                            Document 298-20     Filed 05/19/25              Page 3 of 19   - 209

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               ATTACHMENT TO GRAND JURY SUBPOENA ISSUED TO:

Vanessa Motta
Motta Law Firm, LLC
3632 Canal Street
New Orleans, LA 70119

               RECORD FORMAT: Records are requested in electronic format, e.g.,
                 on a compact disc. A record layout for the data is also requested.

In Re: Records Request/Subpoena pertaining to Cornelius Garrison v. Lancer Insurance Company et al,
CDC Case No. 2016-9756

                                  DOCUMENTS TO BE PRODUCED

Please provide the following records for Cornelius Garrison v. Lancer Insurance Company et al, CDC
Case No. 2016-9756:

Any and all settlement disbursement sheets and/or settlement sheets and/or settlement statements, as
required by Louisiana Rule of Professional Conduct 1.5(c), with supporting documentation and/or proof
of expenses, in the possession, custody, or control of you and/or your law firm pertaining to Cornelius
Garrison v. Lancer Insurance Company et al, CDC Case No. 2016-9756, as well as any other settlements
received on behalf of Cornelius Garrison and any payments made to him or on his behalf with regard to
settlements received in other litigation. Please note that, pursuant to the enclosed written waiver, Mr.
Garrison has waived any applicable privilege that may have attached to these documents.


NOTE: In lieu of a personal appearance, compliance with this subpoena request may be accomplished by
furnishing documents requested to FBI Special Agent Robert Orvin, 2901 Leon C. Simon Blvd., New
Orleans, LA 70126 on or before the return date should you desire voluntarily to surrender them to the Grand
Jury. AUSA Brian Klebba and AUSA Maria Carboni may be reached at telephone numbers (504) 680-3079
and (504) 680-3154, respectively. If you should have any questions regarding this subpoena, please
contact SA Robert Orvin of the Federal Bureau of Investigation, who can be reached at telephone
number (504) 816-3090 or OST Emily Moore of the Federal Bureau of Investigation, who can be reached
at telephone number (504) 816-3104.

                                            Advice of Rights

The grand jury is conducting an investigation of possible violations of Federal mail and wire fraud laws.

You may refuse to answer any question if a truthful answer to the question would tend to incriminate you.

Anything that you say may be used against you by the grand jury or in a subsequent legal proceeding.

If you have retained counsel, the grand jury will permit you a reasonable opportunity to step outside the
grand jury room to consult if you so desire.

Please note that personal appearance and testimony are not sought under this subpoena.
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    GENERAL INSTRUCTIONS FOR COMPLYING WITH THIS REQUEST

 A. Scope of Subpoena: Unless otherwise specified, the subpoena pertains to all records in your
    possession or custody or subject to your control.

 B. Anticipated Testimony: Unless otherwise specified, testimony as to the completeness of the
    search for, and production of, the subpoenaed records will be required by the Grand Jury.
    The required testimony may include the names of the person(s) who conducted the search, a
    description of what each person did to conduct the search, identification of all locations that
    were searched (including all file systems, computer systems, archival storage locations, and
    electronic, optical, microfilm, microfiche or magnetic media accessed or searched),
    explanation of the results of the searches, description of the records produced; and description
    of any records within the scope of the subpoena which have been lost, destroyed, or discarded.

 C. Definition of Record: The term Arecord@ as used in the subpoena should be given the
    broadest possible meaning and includes any recording of information, however made. Any
    handwritten, typed, printed, recorded, transcribed, taped, photographed, filmed,
    computer-generated, or digitally-stored information constitutes a Arecord.@ The term
    Arecord@ specifically includes the following: notes; individual appointment calendars and
    schedules; diaries; telephone logs; telephone bills, message pads, or other evidence of
    incoming and outgoing telephone calls; itineraries; activity reports; travel vouchers and
    accountings; bank records; accounting and bookkeeping records and materials; financial
    records; tax records; correspondence; memoranda; e-mails; faxes; messages; reports; plans;
    forecasts; summaries; briefing materials; studies; working papers; graphs; maps; charts;
    diagrams; agendas; minutes; transcripts, recordings, notes, or summaries of any meeting,
    conversation, conference or communication; statements or charts of organization; telephone
    and personnel directories; press releases; announcements; notices; statements of procedure
    and policy; biographies and personnel files; photographs; videotapes; film; floppy diskettes;
    CDs; DVDs; and computer files.

 D. Requirement of Originals: The subpoena requires the production of original records.
    Copies will suffice only if the originals are not available. A copy which contains notations,
    alterations, annotations, or other modifications is considered an original and must be
    produced. Drafts and other non-identical versions are considered originals and must be
    produced.

 E. Request for Organized Production: You are requested, but not required, to place the records
    called for by each paragraph of the subpoena in a separate folder, box, or other container
    marked with your name, the date of the subpoena, and the paragraph of the subpoena it relates
    to. Such an organized production may facilitate testimony before the Grand Jury or even
    eliminate the need for such testimony.
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 F. Claims of Privilege: If subpoenaed records are withheld on the basis of privilege, you are
    requested to provide a privilege log which identifies the withheld records and, as to each
    withheld record, identifies the following: (1) the privilege asserted; (2) the person or entity
    asserting such privilege; and (3) the specific grounds for assertion of the privilege. Such
    information will facilitate resolution of privilege issues.

 G. Return of Records: At the conclusion of the investigation and any resulting prosecution, the
    records will be returned to you (unless they are filed into the court record).

 H. Access to Records: You will be allowed reasonable access to the records you produce n
    response to the subpoena. If you need to review the subpoenaed records, you or your
    attorney should contact the Assistant U.S. Attorney whose name appears on the subpoena.
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                                           NOTICE

Attached to this subpoena is a Certification Pursuant to Rules 803(6) and 902(11) of the Federal

Rules of Evidence. Rule 902(11) provides that the testimony of a custodian may not be required

at future court proceedings in order to authenticate the requested documentation if the documents

are accompanied by a written declaration of its custodian. The custodian must declare that the

record(s)-

       a.      were made at or near the time of the occurrence of the matters set forth by, or

from information transmitted by, a person with knowledge of those matters;

       b.      were kept in the course of regularly conducted activity; and

       c.      were made by the regularly conducted activity as a regular practice.

We have provided a form which conforms to the requirements set forth in Federal Rules of

Evidence 803(6) and 902(11). This form, if properly executed and returned by the subpoenaed

entity, may enable the documents to be entered into evidence without the live testimony of a

custodian of records.
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                        CERTIFICATION PURSUANT TO
         RULES 803(6) AND 902(11) OF THE FEDERAL RULES OF EVIDENCE

        I, the undersigned business records custodian, with the understanding that I am subject to

criminal penalty under the laws of the United States for an intentionally false declaration, declare

that:

        I am a Custodian of Records or other qualified person with ________________________

and by reason of my position am authorized and qualified to make this declaration.

        The attached are records of: ________________________________________________,

        Account No(s): __________________________________________________________,

        in the name(s) of: ________________________________________________________,

        for the time period(s) ___________________ through ___________________________.

        (Attach next sheet if necessary)

        I further declare that the documents attached hereto are original records or true copies of

records which:

        a.     were made at or near the time of the occurrence of the matters set forth therein, by
(or from information transmitted by) a person with knowledge of those matters;

        b.       were kept in the course of regularly conducted business activity;

        c.       were made by the said business activity as a regular practice; and

        d.       if not original records, are duplicates of original records.

                                                ________________________________________
                                                SIGNATURE
                                                Print Name:_______________________________

                                                Title:____________________________________

Executed on this ____ day of _____________, 20___.

Sworn to and subscribed before me this ____ day of _________, 20___.


____________________________
NOTARY PUBLIC
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     The attached are records of:_________________________________________________,

     Account No(s).: __________________________________________________________,

     in the name(s) of: ________________________________________________________,

     for the time period(s) ___________________ through ___________________________.



     The attached are records of:_________________________________________________,

     Account No(s).: __________________________________________________________,

     in the name(s) of: ________________________________________________________,

     for the time period(s) ___________________ through ___________________________.



     The attached are records of:_________________________________________________,

     Account No(s).: __________________________________________________________,

     in the name(s) of: ________________________________________________________,

     for the time period(s) ___________________ through ___________________________.



     The attached are records of:_________________________________________________,

     Account No(s).: __________________________________________________________,

     in the name(s) of: ________________________________________________________,

     for the time period(s) ___________________ through ___________________________.



     The attached are records of:_________________________________________________,

     Account No(s).: __________________________________________________________,

     in the name(s) of: ________________________________________________________,

     for the time period(s) ___________________ through ___________________________.
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                                                U.S. Department of Justice

                                                United States Attorney
                                                Eastern District of Louisiana




      Specifications for Production of Information (ESI and Digitized Images)

This document describes the technical requirements for the collection and production
of information, including digitized (scanned) images and electronically stored
information (“ESI”), to the U.S. Attorney’s Office for the Eastern District of Louisiana.
Careful consideration should be given to the methodology, implementation and
documentation of ESI collection to ensure that all responsive data and metadata are
preserved in the collection process.

1.   Specification Modifications
      Any modifications or deviations from these Specifications may be done only with
      the express permission of the government. Any responsive data or documents
      that exist in locations or native forms not discussed in these Specifications
      remain responsive and, therefore, arrangements should be made with the
      government to facilitate their production.

       Information refers to any and all types of "hard copy" documents and/or ESI,
       regardless of the form it takes or the media on which it exists or resides,
       including, but not limited to, e-mails and other electronic communications,
       word processing documents (whether in draft or final, partial or complete,
       versions), records, spreadsheets, databases, calendars, telephone logs, internet
       usage files, network access information, and data on other kinds of media,
       including mobile handheld devices such as iPhones, Android phones, and cell
       phones), thumb drives, CDs, as well as digital voicemail and text messages. See
       FRCP 34.

       Electronically Stored Information (ESI) refers to any information created,
       manipulated, communicated, stored, and best utilized in digital form, requiring
       the use of computer hardware and software, including "writings, drawings,
       graphs, charts, photographs, sound recordings, images, and other data or data
       compilations stored in any medium from which information can be obtained . . ."
       FRCP 34(a)(1)(A).


2.    Production Format of ESI and Imaged Hard Copy
       Responsive ESI and imaged hard copy shall be produced in the format outlined
       below with particular attention paid to sections 9-19. All ESI (1) must include
       the unprocessed “as kept in the ordinary course of business” state (i.e., in
       native format), (2) must also be rendered to TIFF image format, and (3) must
       also be accompanied by a Concordance® .dat file and a cross reference image
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     load file(“.opt”, “.lfp”). All applicable metadata (see section 3 below) shall be
     extracted and provided in a standard document review platform load file format
     as set forth below in sections 2(a), 2(b), and 2(c).

     a. Image File Format: All images, paper documents scanned to images, or
         rendered ESI shall be produced as 300 dpi single-page TIFF files, CCITT
         Group IV (2D Compression). Documents should be uniquely and
         sequentially Bates numbered with an endorsement burned into each image.

         All TIFF file names shall include the unique Bates number burned into
           the image.
         Each Bates number shall be eight or more digits, include leading zeros in
           the number, and be unique for each produced page.
         All TIFF image files shall be stored with the “*.TIF” extension.
         Images shall be OCRed using a standard COTS products.
         All pages of a document or all pages of a collection of documents that
           comprise a folder or other logical grouping, including a box, shall be
           delivered on a single piece of media.
         No image folder shall contain more than 10,000 images.
         The entire file path, including the complete file name, shall not exceed
           175 characters.
     b. Document Review Platform Cross Reference file: Images should be
         accompanied by an Image Cross Reference file that associates each Bates
         number with its corresponding single-page TIFF image file. The Cross
         Reference file should also contain the image file path for each Bates
         numbered page. Image Cross Reference Sample Format:
           IM,ABC_00000001,D,0,@VOL_001;IMAGES\00\001; ABC_00000001.tif;2,0
           IM,ABC_00000001,D,0,@VOL_001;IMAGES\00\001; ABC_00000001.tif;2,0
           IM,ABC_00000001,C,0,@VOL_001;IMAGES\00\001; ABC_00000001.tif;2,0
           IM,ABC_00000001, ,0,@VOL_001;IMAGES\00\001; ABC_00000001.tif;2,0
           IM,ABC_00000001, ,0,@VOL_001;IMAGES\00\001; ABC_00000001.tif;2,0
           IM,ABC_00000001,D,0,@VOL_001;IMAGES\00\001;  ABC_00000001.tif;2,0

     c. Document Review Platform Load File: Images should also be accompanied
         by a “text load file” containing delimited text that will populate fields in a
         searchable, flat database environment. The file should contain the required
         fields listed below in section 3.
         ASCII text delimited load files are defined using the following delimiters:
           Field Separator                                  ¶             or Code 020
           Text Qualifier                                   þ             or Code 254
           Substitute Carriage Return or New Line           ®             or Code174
         The text file should also contain hyperlinks to applicable native files,
           such as Excel, PowerPoint, audio, or video files.
         There should be one line for every record in a collection.
         The load file must contain a field map/key listing the metadata/database
           fields in the order they appear within the data file. For example, if the
           data file consists of a First Page of a Record (starting Bates), Last Page of
                                        -2-
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               a Record (ending Bates), Document ID, Document Date, File Name, and a
               Title, then the structure may appear as follows:
               þBEGDOCþ¶þENDDOCþ¶þDOCIDþ¶þDOCDATEþ¶þFILENAMEþ¶þTITLE
             The extracted/OCR text for each document should be provided as a
               separate single text file. The file name should match the BEGDOC# or
               DOCID for that specific record and be accompanied by the *.TXT
               extension.
             Text files shall not be provided in the same folder as the TIFF images.

3.     Required Metadata/Database Fields
        The metadata of ESI should be extracted and provided in a *.DAT file using the
        field definitions and formatting described below:

 Table 1
                                                                                    Field Value
      Field name                  Field Description                 Field Type
                                                                                      Length
 COMPANY             Company/Organization submitting data              Text         Unlimited
 BOX#                Submission/volume/box number                      Text             10
 CUSTODIAN           Custodian(s)/Source(s) [Format: Last,             Text         Unlimited
                     First or ABC Dept.]
 AUTHOR              Creator of the document                           Text            160
 BEGDOC#             Start Bates (including prefix) - No spaces        Text             60
 ENDDOC#             End Bates (including prefix) - No spaces          Text             60
 PGCOUNT             Page Count                                       Integer           10
 PARENTID            Parent’s BEGDOC                                   Text             60
 ATTACHIDs           Child document list; Child DOCID or            Multi-Entry     Unlimited
                     Child Start Bates
 ATTACHLIST          List of Attachment File Names                  Multi-Entry     Unlimited
 BEGATTACH           Start Bates of Parent                             Text             60
 ENDATTACH           End Bates of last attachment                      Text             60
 PROPERTIES          Privilege notations (e.g., Redacted,           Multi-Entry     Unlimited
                     Document Withheld Based on Privilege)
 RECORD TYPE         File, E-mail, Attachment, or Hard Copy            Text             60
 FROM                Author’s emails                                   Text            160
 TO                  Recipient]                                     Multi-Entry     Unlimited
 CC                  Carbon Copy Recipients                         Multi-Entry      Unlimited
 BCC                 Blind Carbon Copy Recipients                   Multi-Entry      Unlimited
 SUBJECT             Subject/Document Title                            Text         Unlimited
 CONVINDEX           E-mail system ID used to track replies,           Text         Unlimited
                     forwards, etc.
 DOCDATE             Document Date/Date Sent [Format:               Date Keyed     MM/DD/YYYY
                     MM/DD/YYYY
 TEXT                E-mail body, Other Electronic Document          Full Text      Unlimited
                     Extracted text, or OCR


                                                -3-
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 Table 1
                                                                                       Field Value
      Field name                  Field Description                    Field Type
                                                                                         Length
 TIMESENT            Time e-mail was sent                                 Time             10
 DATECRTD            Date Created                                         Date        MM/DD/YYYY
 DATESVD             Date Saved                                           Date        MM/DD/YYYY
 DATEMOD             Date Last Modified                                Date Keyed     MM/DD/YYYY
 DATERCVD            Date Received                                        Date        MM/DD/YYYY
 DATEACCD            Date Accessed                                        Date        MM/DD/YYYY
 FILESIZE            File Size                                          Note Text          10
 FILENAME            File name - name of file as it appeared in         Full Text      Unlimited
                     its original location
 APPLICATION         Application used to create native file (e.g.,      Note Text         160
                     Excel, Outlook, Word)
 FILE EXTENSION      Extension for the file (e.g., *.DOCX; *.XLS)       Note Text          10
 FILEPATH            Data’s original source full folder path            Full Text      Unlimited
 NATIVELINK          Current file path location to the native file      Full Text       Unlimited
 INTPATH             E-mail folder path (e.g., Inbox\Active) or         Full Text      Unlimited
                     Hard Copy container information (e.g.,
                     Folder or binder name)
 PARAGRAPH           Subpoena/request paragraph number to              Multi-Entry     Unlimited
                     which the document is responsive
 HASH                Hash value (used for deduplication or              Note Text      Unlimited
                     other processing) (e-mail hash values
                     must be run with the e-mail and all of its
                     attachments)
 MESSAGEHEADER       E-mail header.                                     Full Text      Unlimited
 ATTACHMCOUNT        Number of attachments to an e-mail                 Note Text          10
 COMMENTS            Identifies whether the document has                Note Text          10
                     comments associated with it
 ACCOUNT NAME        Name on the account associated with the            Full Text      Unlimited
                     record.
 ACCOUNT             Account number on the account                      Full Text      Unlimited
 NUMBER              associated with the record.
 TRANSACTION         Transaction number related to the record.          Full Text      Unlimited
 NUMBER
 IMAGE REFERNCE      Cross reference filename of associated            Multi-Entry     Unlimited
 FILE NAME           visual image (credit/debit slip) if available


4.     De-duplication, Near-Duplicate Identification, E-mail Conversation
        Threading, and Other Culling Procedures
        De-duplication of exact copies within a custodian’s data may be done, but all
        “filepaths” must be provided for each duplicate document. The recipient shall
        not use any other procedure to cull, filter, group, separate or de-duplicate (i.e.,
        reduce the volume of) responsive material before discussing with and obtaining
        the written approval of the government. All objective coding (e.g., near dupe ID


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      or e-mail thread ID) shall be discussed and produced to the government as
      additional metadata fields.

5.   Hidden Text
      All hidden text (e.g., track changes, hidden columns, mark-ups, notes) shall be
      expanded and rendered in the image file. For files that cannot be expanded the
      native files shall be produced along with the image file.

6.   Embedded Files
      All non-graphic embedded objects (e.g., Word documents, Excel spreadsheets,
      *.WAV files) that are found within a file shall be extracted and produced. For
      purposes of production the embedded files shall be treated as attachments to
      the original file, with the parent/child relationship preserved.

7.   Image-Only Files
      All image-only files (i.e., non-searchable PDFs, TIFFs, Snipping Tool and other
      screenshots, as well as all other images that contain text) shall be produced
      with associated OCR text and metadata/database fields identified in section 3
      for “Other ESI.”

8.   Hard Copy Records

      a. All hard copy material shall be digitized (scanned) and reflect accurate
          document unitization including all attachments and container information
          (to be reflected in the PARENTID, ATTACHID, BEGATTACH, ENDATTACH and
          FOLDERID). Unitization in this context refers to identifying and marking the
          boundaries of documents within the collection, where a document is defined
          as the smallest physical fastened unit within a bundle (e.g., staples, paper
          clips, rubber bands, folders, or tabs in a binder). The first document in the
          collection represents the parent document and all other documents
          represent the children.
      b. All documents shall be produced in black and white TIFF format unless the
          image requires color. An image “requires color” when color in the document
          adds emphasis to information in the document or is itself information that
          would not be readily apparent on the face of a black and white image.
          Images identified as requiring color shall be produced as color 300 dpi
          single-page JPEG files.
      c. All objective coding (e.g., document date or document author) should be
          discussed and produced to the government with metadata/database fields.

9.   Production of Email
      All email produced should be grouped in a repository (PST, etc.) format when
      possible. Email repositories, also known as email databases (e.g., Outlook
      .PST, Lotus .NSF, etc.), can contain a variety of items, including: messages,
      calendars, contacts, tasks etc. For purposes of production, responsive items
      shall provide the “Email” metadata fields outlined in section 3, including but
      not limited to all parent items (mail, calendar, contacts, tasks, notes, etc.) and
      child files (attachments of files to email or other items) with the parent/child
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       relationship preserved. Email databases from operating systems other than
       Microsoft Exchange shall be produced after consultation and only with the
       express approval of the USAO about the format for the production of such
       databases.

10.   Production of Spreadsheets
       All spreadsheets (e.g., Excel) shall be produced in the unprocessed “as kept in
       the ordinary course of business” state (i.e., in native format) and accompanied
       with a placeholder stating, “Produced in Native format”. See section 18 below.
       The file produced should maintain the integrity of all source, custodian,
       application, embedded and related file system metadata. No alteration shall be
       made to file names or extensions for responsive native electronic files.

11.   Production of Instant Messenger (IM), Voicemail Data, Audio Data, Video
       Data, etc.
       The responding party shall identify, collect, and produce any and all data which
       is responsive to the requests which may be stored in audio or video recordings,
       cell phone/PDA/Blackberry/smart phone data, tablet data, voicemail
       messaging data, instant messaging, text messaging, conference call data,
       video/audio conferencing (e.g., GoTo Meeting, WebEx), and related/similar
       technologies. However, such data, logs, metadata or other files related thereto,
       as well as other less common but similar data types, shall be produced after
       consultation with and written consent of the government about the format for
       the production of such data.

12.   Production of Social Media
       Prior to any production of responsive data from social media (e.g., Twitter,
       Facebook, Google+, LinkedIn) the producing party shall first discuss with the
       government the potential export formats before collecting the information.

13.   Productions of Structured Data
       Prior to any production of responsive data from a structured database (e.g.,
       Oracle, SAP, SQL, MySQL, QuickBooks), the producing party shall first provide
       the database dictionary and a list of all reports that can be generated from the
       structured database. The list of reports shall be provided in native Excel (*.XLS)
       format.

14.   Productions of Structured Data from Proprietary Applications
       Prior to any production of structured data from proprietary applications (e.g.,
       proprietary timekeeping, accounting, sales rep call notes, CRMs, SharePoint)
       the producing party shall first provide the database dictionary and a list of all
       reports that can be generated from the structured database. The list of reports
       shall be produced in native Excel (*.XLS) format.

15.   Production of Photographs with Native File or Digitized ESI
       Photographs shall be produced as single-page JPEG files with a resolution
       equivalent to the original image as it was captured/created. All JPEG files shall
       have extracted metadata/database fields provided in a standard document
       review platform load file format as outlined in section 3 for “Other ESI.”

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16.   Format of ESI from Non-PC, Non-Windows-based Systems, or Unsupported
       formats
       If responsive ESI is in non-PC or non-Windows-based Systems (e.g., Apple, IBM
       mainframes, UNIX machines), the ESI shall be produced after discussion with
       and written consent of the government about the format for the production of
       such data.

17.   Production of Native Files (When Applicable Pursuant to These
       Specifications)
       Productions of native files as called for in these Specifications shall have
       extracted metadata/database fields provided in the standard document review
       platform load file format as defined in section 3 above.

       ESI shall be produced in a manner which is functionally useable by the
       government. The following are examples:
        AutoCAD data (e.g., *.DWG, *.DXF) shall be processed/converted and
          produced as single-page *.JPG/*.TIFF image files according to specifications
          described above.
        GIS data shall be produced in its native format and be accompanied by a
          viewer such that the mapping or other data can be reviewed in a manner
          that does not detract from its ability to be reasonably understood.
        Audio and video recordings shall be produced in native format and be
          accompanied by a viewer if such recordings do not play in a generic
          application (e.g., Windows Media Player).

18.   Bates Number Convention
       All images should be assigned Bates numbers before production to the
       government. Native files should be assigned a single Bates number for the
       entire file. The Bates number shall not exceed 30 characters in length and shall
       include leading zeros in the numeric portion. The Bates number shall be a
       unique name/number common to each page (when assigned to an image) or to
       each document (when assigned to a native file). If the government agrees to a
       rolling production, the naming/numbering convention shall remain consistent
       throughout the entire production. There shall be no spaces between the prefix
       and numeric value. However, it is highly recommended that an underscore be
       used between any prefix and the digits of a Bates number. If suffixes are
       required, please use “underscore notation.” Below is a sample of underscore
       notation:


       PREFIX_0000001                    PREFIX_0000003
       PREFIX_0000001_001                PREFIX_0000003_001
       PREFIX_0000001_002                PREFIX_0000003_002

19.   Media Formats for Storage and Delivery of Production Data
       Electronic documents and data shall be delivered on any of the following media:
       a. CD-ROMs and/or DVD-R (+/-) formatted to ISO/IEC 13346 and Universal
           Disk Format 1.02 specifications.
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       b. External hard drives (USB 3.0 (or better) or eSATA, formatted to NTFS
           format specifications) or flash drives.
       c. Storage media used to deliver ESI shall be appropriate to the size of the data
           in the production.
       d. Media should be labeled with the case name, production date, Bates range,
           and producing party.

20.   Virus Protection and Security for Delivery of Production Data
       Production data shall be free of computer viruses. Any files found to include a
       virus shall be quarantined by the producing party and noted in a log to be
       provided to the government. Password protected or encrypted files or media
       shall be provided with corresponding passwords and specific decryption
       instructions. No encryption software shall be used without the prior written
       consent of the government.

21.   Compliance and Adherence to Generally Accepted Technical Standards
       Production shall be in conformance with standards and practices established by
       the National Institute of Standards and Technology (“NIST” at www.nist.gov),
       U.S. National Archives & Records Administration (“NARA” at www.archives.gov),
       American Records Management Association (“ARMA International” at
       www.arma.org), American National Standards Institute (“ANSI” at
       www.ansi.org), International Organization for Standardization (“ISO” at
       www.iso.org), and/or other U.S. government or professional organizations.

22.   ReadMe Text File
       All deliverables shall include a readme text file at the root directory containing:
       total number of records, total number of images/pages or files, mapping of
       fields to plainly identify field names, types, lengths and formats. The readme
       file shall also indicate the field name to which images will be linked for viewing,
       date and time format, and confirmation that the number of files in load files
       matches the number of files produced.

23.   Exception Log
       An Exception Log shall be included documenting any production anomalies
       utilizing the electronic Bates number (document ID or control numbering)
       assigned during the collection, processing and production phases.




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